                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      CASE NO. 3:12-00137-3
                                                   )      JUDGE SHARP
MELISSA DEMPSEY                                    )
                                                   )


                                          ORDER

       On January 24, 2014, the Court granted a motion to extend report date. The new date in

which Defendant is to report is March 3, 2014.

       It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00137       Document 236       Filed 02/04/14     Page 1 of 1 PageID #: 1022
